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VIA ECF


Honorable Frederic Block
United States District Court
Eastern District of New York
225 Cadman Plaza
Brooklyn, NY 11201

                  Re:      Engesser et al. v. McDonald,
                           Civil Action No. 25-cv-01689 (FB) (LKE)

Dear Judge Block:

        We represent Plaintiffs in the above-captioned matter. The Parties met today in intensive
discussions for over thirteen hours, in-person, at the offices of Patterson Belknap, and we have
made very significant progress toward a joint Stipulation and Proposed Preliminary Injunction on
behalf of all Parties (“Stipulation”). At the time of this submission, the Parties are continuing to
negotiate, and/or obtain final approval on, a handful of limited final material terms of the
Stipulation. We respectfully request the Court’s leave to submit a joint Stipulation by 2:00 p.m.
tomorrow, April 9, 2025. In the event the Parties have not reached agreement by that point, we
respectfully request that the Court schedule a 4:00 p.m. telephonic or video conference.



                                                                    Respectfully yours,




                                                                    Lisa E. Cleary
cc (by email or ECF)
Caitlin Ross
Rachel Summer, NYAG
Samantha Buchalter, NYAG
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